            Case 2:18-cr-00131-RAJ Document 1481 Filed 10/21/20 Page 1 of 1




 1                                                        The Honorable Richard A. Jones
 2
 3
 4
                            UNITED STATES DISTRICT COURT
 5                         WESTERN DISTRICT OF WASHINGTON
                                     AT SEATTLE
 6
 7    UNITED STATES OF AMERICA,                        NO. CR18-131 RAJ
 8                         Plaintiff,
                                                     ORDER GRANTING MOTION TO
 9                                                   SEAL EXHIBIT A TO
                                                     GOVERNMENT’S RESPONSE TO
10                    v.
                                                     DEFENDANT’S MOTION FOR
11                                                   COMPASSIONATE RELEASE
      MARCUS JAMES HALL,                             PURSUANT TO 18 U.S.C.
12
                                                     § 3582(c)(1)(A)
13                         Defendant.
14
15         This matter has come before the Court on the motion to seal Exhibit A to

16 Government’s Response to Defendant’s Motion for Compassionate Release Pursuant to 18
17 U.S.C. § 3582(c)(1)(A). The Court has reviewed the motion and records in this case and
18 finds there are compelling reasons to permit the filing under seal of the Exhibit A to
19 Government’s Response to Defendant’s Motion for Compassionate Release Pursuant to 18
20 U.S.C. § 3582(c)(1)(A), due to the sensitive information contained therein.
21       IT IS HEREBY ORDERED that the United States’ Motion (Dkt. #1477) is

22 GRANTED. Exhibit A to Government’s Response to Defendant’s Motion for
23 Compassionate Release Pursuant to 18 U.S.C. § 3582(c)(1)(A) be filed under seal.
24         DATED this 21st day of October, 2020.

25
26
                                                   A
27                                                 The Honorable Richard A. Jones
                                                   United States District Judge
28
     ORDER GRANTING MOTION TO SEAL - 1                                UNITED STATES ATTORNEY
                                                                     700 STEWART STREET, SUITE 5220
     United States v. Hall, CR18-131 RAJ
                                                                       SEATTLE, WASHINGTON 98101
                                                                             (206) 553-7970
